        Case 1:24-cr-00542-AS          Document 25 Filed 10/04/24 Page 1 of 1
                                                 U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                   The Jacob K. Javits Federal Building
                                                   26 Federal Plaza, 37th Floor
                                                   New York, New York 10278


                                                    October 4, 2024

BY ECF & EMAIL
Honorable Arun Subramanian
United States District Court for the
 Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Sean Combs, 24 Cr. 542 (AS)

Dear Judge Subramanian:

       Enclosed for the Court’s consideration is a Proposed Protective Order in the above-
captioned case that has been executed by both parties. The parties respectfully request that the
Court enter the Proposed Protective Order.

        Please note that the Government has redacted a limited portion of the publicly-filed
Proposed Protective Order. The redacted portion describes with particularity discovery material
that implicates a victim’s privacy interests. See Lugosh v. Pyramid Co. of Onondaga, 435 F.3d
110, 120 (2d Cir. 2006) (finding that the presumption of public access to a judicial document can
be overcome when court makes finding that sealing (1) is necessary to preserve higher values and
(2) is narrowly tailored to serve that interest). The Government will provide the Court with an
unredacted copy directly. Defense counsel does not object to these limited redactions.

                                            Respectfully submitted,

                                            DAMIAN WILLIAMS
                                            United States Attorney


                                         by: ____________________________
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